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  IT IS ORDERED as set forth below:



  Date: May 12, 2022
                                                  ________________________________
                                                              Paul Baisier
                                                      U.S. Bankruptcy Court Judge

 _______________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:
                                               CHAPTER 11
 ATLANTA LIGHT BULBS, INC.,
                                               CASE NO. 22-52950-pmb
          Debtor.

 TANDEM BANK,

          Movant,
                                               CONTESTED MATTER
 v.

 ATLANTA LIGHT BULBS, INC.,

          Respondent.

                ORDER GRANTING MOTION FOR EXAMINATION PURSUANT
                 TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2004

       The Motion of Tandem Bank (the “Movant”) for an order pursuant to Federal Rule of

Bankruptcy Procedure 2004 to take discovery and conduct an examination of Atlanta Light

Bulbs, Inc. (the “Debtor”), filed herein on May 11, 2022 (Doc. No. 16) (the “Motion”), having

been read and considered, it is
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       ORDERED that the Motion be, and the same hereby is, granted as follows: pursuant to

Fed.R.Bankr.P. 2004(a), the Movant is authorized to proceed with discovery and conduct an

examination of Debtor by and through its designated representative in accordance with

Fed.R.Bankr.P. 2004(b) at a mutually agreed date, time, and place. It is further

       ORDERED that the examination may be rescheduled or adjourned from time to time and

place to place by agreement of the parties, by announcements at the examination, or as set

forth in a notice filed with the Court and served on Debtor and its counsel. It is further

       ORDERED that if attendance and, if applicable, production of designated documents in

connection with said examination, cannot be obtained voluntarily, the Movant may compel such

attendance and production of documents as stated in Fed.R.Bankr.P. 2004(c) in the manner

provided in Fed.R.Bankr.P. 9016, which incorporates the procedure for the issuance of a

subpoena as set forth in Federal Rule of Civil Procedure 45. It is further

       ORDERED that the Debtor shall timely respond to any document requests made by

Movant in accordance with Fed.R.Bankr.P. 2004(c). The Debtor may assert written objections in

good faith to the requests as if such requests had been served pursuant to Fed.R.Bankr.P.

7034, and shall produce to the Movant all responsive documents that are not subject to a valid

timely asserted objection.

       The Clerk is directed to serve a copy of this Order upon the Debtor, counsel for the

Movant, and the United States Trustee.

                                       END OF DOCUMENT

Prepared and Presented By:
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